Case 1:25-cv-01111-EGS   Document 13-5   Filed 04/22/25   Page 1 of 9




                         Exhibit 2
Case 1:25-cv-01111-EGS   Document 13-5   Filed 04/22/25   Page 2 of 9
Case 1:25-cv-01111-EGS   Document 13-5   Filed 04/22/25   Page 3 of 9
Case 1:25-cv-01111-EGS   Document 13-5   Filed 04/22/25   Page 4 of 9
Case 1:25-cv-01111-EGS   Document 13-5   Filed 04/22/25   Page 5 of 9
Case 1:25-cv-01111-EGS   Document 13-5   Filed 04/22/25   Page 6 of 9
Case 1:25-cv-01111-EGS   Document 13-5   Filed 04/22/25   Page 7 of 9
Case 1:25-cv-01111-EGS   Document 13-5   Filed 04/22/25   Page 8 of 9
Case 1:25-cv-01111-EGS   Document 13-5   Filed 04/22/25   Page 9 of 9
